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   8                      IN THE UNITED STATES DISTRICT COURT
   9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       JAQUELINE FLORES,                             Case No. 2:19-cv-06581- RSWL (SSx)
 12
                                        Plaintiff, [PROPOSED] ORDER
 13
                    v.
 14
       STATE OF CALIFORNIA,
 15    DEPARTMENT OF MOTOR
       VEHICLES, JAVIER
 16    GUANGORENA, and DOES 1-50,
       inclusive,
 17
                                     Defendants.
 18
 19
 20         Pursuant to the Parties’ Stipulation of Dismissal of Defendant State of
 21    California, Department of Motor Vehicles Pursuant to Federal Rule of Civil
 22    Procedure, rule 41 (a)(1); and of Remand as to Remaining Parties (“Stipulation”),
 23    filed on September 30, 2020, and for good cause shown,
 24         1.      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
 25    Procedure Defendant State of California, Department of Motor Vehicles, is
 26    dismissed from this entire action with prejudice, effective as of the date and time of
 27    the filing of the Parties’ Stipulation with the Court. Each Party to bear her or its
 28    own respective fees and costs.

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   1        2.     This action is remanded to the California Superior Court solely as to
   2   Plaintiff’s claims as to named defendant Javier Guangorena.
   3        IT IS SO ORDERED.
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       Dated: October 2, 2020
   5                                               /S/ RONALD S.W. LEW
   6                                               _____________________________
                                                   The Honorable Ronald S. W. Lew
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